                                                                         Entered on Docket
                                                                         May 20, 2019
                                                                         EDWARD J. EMMONS, CLERK
                                                                         U.S. BANKRUPTCY COURT
                                                                         NORTHERN DISTRICT OF CALIFORNIA

                       1    Aron M. Oliner (SBN: 152373)
                            Geoffrey A. Heaton (SBN: 206990)
                       2    DUANE MORRIS LLP                           The following constitutes the order of the Court.
                       3    One Market Plaza                           Signed: May 20, 2019
                            Spear Street Tower, Suite 2200
                       4    San Francisco, CA 94105-1127
                            Telephone: (415) 957-3000
                       5    Facsimile: (415) 957-3001                  ______________________________________________
                                                                       Roger L. Efremsky
                            Email: gheaton@duanemorris.com             U.S. Bankruptcy Judge
                       6
                            Counsel for Chapter 11 Trustee
                       7    TIMOTHY W. HOFFMAN
                       8

                       9                                  UNITED STATES BANKRUPTCY COURT

                      10                                  NORTHERN DISTRICT OF CALIFORNIA
                      11
                                                                  SANTA ROSA DIVISION
                      12
                            In re                                                   Case No. 17-10065 RLE
                      13
                            SVC,                                                    (Jointly Administered)
                      14
                                                Debtor.                             Chapter 11
                      15
                                                                                    ORDER AUTHORIZING TRUSTEE TO
                      16                                                            ENTER INTO COMPROMISE
                                                                                    CONTROVERSY WITH VARIOUS
                      17                                                            CREDITORS AND LITIGANTS

                      18
                            In re
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                            SVP,
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                                                Debtor.
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                      22
                                      On the basis of the Application for Order Authorizing Trustee to Enter into Compromise
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                      24    with Various Creditors and Litigants (“Application”), due and proper notice having been given,

                      25    no objection having been filed, and good cause appearing therefor,

                      26              IT IS HEREBY ORDERED as follows:
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                                      1.        The Application is approved.
                      28
D UANE M ORRIS        LLP
                            DM3\5614494.2 R1034/00002                           1
   SAN FRA NCI S CO
                            ORDER AUTHORIZING TRUSTEE TO COMPROMISE CONTROVERSY WITH VARIOUS LITIGANTS
                      Case: 17-10065                     CASE NO.Entered:
                                      Doc# 435 Filed: 05/20/19    17-10065 RLE
                                                                           05/20/19 15:15:30 Page 1 of
                                                                         4
                       1              2.        Chapter 11 trustee Timothy W. Hoffman, Angelica de Vere, Teresa Sullivan,
                       2    Sonyia Grabski, Elizabeth Matulich, Trinity Scott, Stephen A. Finn and Winery Rehabilitation,
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                            LLC are authorized to execute any and all documents and to take any and all steps necessary and
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                            proper to compromise the controversy as described in the Application.
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                                      3.        Claim No. 5 in SVC’s case filed by Angelica de Vere, and any amendments
                       6

                       7    thereto, are hereby withdrawn with prejudice.

                       8              4.        Claim No. 17 in SVC’s case filed by Angelica de Vere, and any amendments

                       9    thereto, are hereby withdrawn with prejudice.
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                                      5.        Claim No. 6 in SVC’s case filed by Teresa Sullivan, and any amendments thereto,
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                            are hereby withdrawn with prejudice.
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                                      6.        Claim No. 7 in SVC’s case filed by Sonyia Grabski, and any amendments thereto,
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                            are hereby withdrawn with prejudice.
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                      15              7.        Claim No. 8 in SVC’s case filed by Elizabeth Matulich, and any amendments

                      16    thereto, are hereby withdrawn with prejudice.
                      17              8.        Claim No. 9 in SVC’s case filed by Trinity Scott, and any amendments thereto,
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                            are hereby withdrawn with prejudice.
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                                      9.        Consistent with paragraph 2 of the Settlement Agreement, nothing in this Order
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                            allows or disallows any claims filed by Winery Rehabilitation, LLC, or Stephen A. Finn,
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                      22    including but not limited to Claim Nos. 11, 12, 13 and 14 (collectively, the “Finn Party Claims”).

                      23    The Finn Party Claims shall be subordinated in their entirety to all trade debt reflected in the

                      24    captioned debtors’ schedules and proofs of claim currently on file in the Bankruptcy Cases, to
                      25    the extent such claims are allowed, provided, however, that the Finn Party Claims shall not be
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                            subordinated to the general unsecured claim in the amount of $2,130,720.00 listed in SVC’s
                      27
                            bankruptcy schedules [Docket No. 25] as a trade payable due SVP.
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D UANE M ORRIS        LLP
                            DM3\5614494.2 R1034/00002                          2
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                                      Doc# 435 Filed: 05/20/19    17-10065 RLE
                                                                           05/20/19 15:15:30 Page 2 of
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                       1              10.       The Settlement Agreement and the approval of the compromise herein shall have
                       2    no effect on claims possessed by Ross and Kelleen Sullivan, in their individual capacities,
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                            against Mr. Finn or any of his affiliates or entities, which are not being released under the
                       4
                            Settlement Agreement.
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                                      11.       Notwithstanding anything to the contrary in paragraph 8(b) of the Settlement
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                       7    Agreement, no release of the Buchalter law firm or any of its past or present attorneys shall be

                       8    effected herein. Any and all claims the Debtors and Trustee may have against Buchalter shall be

                       9    expressly preserved.
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                      11                                          *** END OF ORDER ***

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                      13    APPROVED AS TO FORM AND CONTENT.

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                      15    Dated: May 10, 2019                    PILLSBURY WINTHROP SHAW PITTMAN LLP

                      16                                           BY: /s/ Philip S. Warden (54752)
                                                                       Attorneys for Stephen A. Finn,
                      17                                               Winery Rehabilitation, LLC and Angelica de Vere
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                                      Doc# 435 Filed: 05/20/19    17-10065 RLE
                                                                           05/20/19 15:15:30 Page 3 of
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                       1                                         COURT SERVICE LIST
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                            [All parties entitled to service are ECF registered in this case.]
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                                                                           05/20/19 15:15:30 Page 4 of
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